                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 2:11-00002
                                                    )       Judge Trauger
[26] TRESHA MAE SHERRILL                            )


                                           ORDER

       A status hearing was held on July 31, 2014. It is hereby ORDERED that the defendant

shall be immediately taken into custody, and a further hearing on the Superseding Petition to

revoke supervision (Docket No. 1739) shall be held on August 14, 2014 at 2:00 p.m.

       It is so ORDERED.

       ENTER this 31st day of July 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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